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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/889956318" data-vids="889956318" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;69 P.3d 73&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;John ARDOLINO&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 01SC739&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;May 12, 2003&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;
 &lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="160" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-vol="69" data-rep="P.3d" data-page_type="bracketed_cite" data-val="75" data-id="pagenumber_160"&gt;&lt;/span&gt; &lt;span data-paragraph-id="160" data-sentence-id="161" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Patrick J. Mulligan&lt;/span&gt;&lt;/span&gt;, Denver, Colorado, Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="225" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="225" data-sentence-id="233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Ken Salazar&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Cheryl Hone&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado, Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="349" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (COATS)"&gt;&lt;span data-paragraph-id="349" data-sentence-id="357" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;COATS&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="407" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="407" data-sentence-id="415" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;John Ardolino&lt;/span&gt; petitioned for review of the unpublished &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court of appeals&lt;/span&gt;' decision&lt;/span&gt; upholding the denial of his &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="407" data-sentence-id="559" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; determined, without a hearing, that Ardolino's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had not been ineffective both because his representation did not fall outside the wide range of professionally competent assistance and because any errors made by his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not result in prejudice to his case.&lt;/span&gt; &lt;span data-paragraph-id="407" data-sentence-id="849" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find that the motion, files, and record in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; were insufficient to establish either that &lt;span class="ldml-entity"&gt;the acts&lt;/span&gt; and omissions of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; identified by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; were reasonable strategic choices or that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;, in any event, did not prejudice his case, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand for an evidentiary hearing on the allegations of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-ordinal_end="1" data-value="I." data-specifier="I" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label=" I.
" id="heading_1190" data-id="heading_1190"&gt;&lt;span data-paragraph-id="1190" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1190" data-sentence-id="1198" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;I.&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1201" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1201" data-sentence-id="1209" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;John Ardolino&lt;/span&gt;, was convicted of sexual assault on a child and contributing to the delinquency of a minor, for which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was sentenced to concurrent eleven-year terms in the custody of the department of corrections.&lt;/span&gt; &lt;span data-paragraph-id="1201" data-sentence-id="1438" class="ldml-sentence"&gt;The charges arose from an incident in &lt;span class="ldml-entity"&gt;July 1997&lt;/span&gt;, in which Ardolino was accused of providing alcohol to a ten-year-old girl and digitally penetrating her vagina.&lt;/span&gt; &lt;span data-paragraph-id="1201" data-sentence-id="1599" class="ldml-sentence"&gt;In the absence of physical evidence or other first-hand witnesses, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; presented its case through the testimony of the child-victim; relatives, neighbors, and police officers to whom &lt;span class="ldml-entity"&gt;she&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; made statements; and the medical expert who examined her.&lt;/span&gt; &lt;span data-paragraph-id="1201" data-sentence-id="1873" class="ldml-sentence"&gt;The defense rested on a general denial, without presenting &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1940" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1940" data-sentence-id="1948" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Prosecution&lt;/span&gt; witnesses testified to the effect that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; hired the victim to help with his landscaping business, as &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had done with other children in the neighborhood.&lt;/span&gt; &lt;span data-paragraph-id="1940" data-sentence-id="2125" class="ldml-sentence"&gt;On the evening in question, after receiving permission to spend the night with &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s daughter, the victim drank beer offered to her by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; and became dizzy.&lt;/span&gt; &lt;span data-paragraph-id="1940" data-sentence-id="2302" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;she&lt;/span&gt; responded in the negative to his question whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had ever had cooking oil rubbed on her, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; retrieved a bottle of cooking oil from the kitchen and rubbed it on her stomach and then in her vagina.&lt;/span&gt; &lt;span data-paragraph-id="1940" data-sentence-id="2523" class="ldml-sentence"&gt;The victim told no one until a month or two later, when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was being told by an older friend about foreplay and exclaimed, &lt;span class="ldml-quotation quote"&gt;"That's what John did to me!"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1940" data-sentence-id="2677" class="ldml-sentence"&gt;When the victim resisted her friend's urging to tell her &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, the friend eventually told her own &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, who told the victim's &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, who in turn notified the police.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2848" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2848" data-sentence-id="2856" class="ldml-sentence"&gt;Although defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not present any witnesses on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s behalf, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did cross-examine &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; witnesses and make argument.&lt;/span&gt; &lt;span data-paragraph-id="2848" data-sentence-id="3004" class="ldml-sentence"&gt;In particular, however, while questioning the medical expert who had examined the victim, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; asked her about the veracity of child sexual assault victims and elicited from her an opinion that less than one percent of such allegations were false.&lt;/span&gt; &lt;span data-paragraph-id="2848" data-sentence-id="3263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt; repeated and emphasized this opinion both at the time and again in closing argument to the jury.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3368" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3368" data-sentence-id="3376" class="ldml-sentence"&gt;Following the jury verdicts, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; appealed his convictions to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3368" data-sentence-id="3469" class="ldml-sentence"&gt;During the pendency of his appeal, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was granted a limited remand to challenge, by &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt;, the effectiveness of his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s assistance.&lt;/span&gt; &lt;span data-paragraph-id="3368" data-sentence-id="3634" class="ldml-sentence"&gt;His motion alleged that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was ineffective in his investigation of the alleged crime, voir dire of the jury, cross-examination of the victim and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s expert witness, and in failing to object during closing argument.&lt;/span&gt; &lt;span data-paragraph-id="3368" data-sentence-id="3876" class="ldml-sentence"&gt;The motion included the affidavit of an attorney, offered as a defense expert, &lt;span class="ldml-pagenumber" data-vol="69" data-rep="P.3d" data-page_type="bracketed_cite" data-val="76" data-id="pagenumber_3955"&gt;&lt;/span&gt; asserting that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation had been ineffective in these areas.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4039" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4039" data-sentence-id="4047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied the motion without hearing evidence to support &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s allegations, finding that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; involved no disputed questions of fact but only issues of law.&lt;/span&gt; &lt;span data-paragraph-id="4039" data-sentence-id="4230" class="ldml-sentence"&gt;It further found the record sufficient to establish that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged acts and omissions were reasonable strategic choices and that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not prejudice &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, in part because the victim appeared highly believable.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4468" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4468" data-sentence-id="4476" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The case&lt;/span&gt; was recertified to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, which affirmed both &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s convictions and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4468" data-sentence-id="4647" class="ldml-sentence"&gt;One member of &lt;span class="ldml-entity"&gt;the panel&lt;/span&gt; would have remanded for an evidentiary hearing on the allegations of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4468" data-sentence-id="4779" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;petition for a writ&lt;/span&gt; of certiorari to review the denial of his claim of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-ordinal_end="2" data-value="II." data-specifier="II" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label=" II.
" id="heading_4912" data-id="heading_4912"&gt;&lt;span data-paragraph-id="4912" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4912" data-sentence-id="4920" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;II.&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4924" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4924" data-sentence-id="4932" class="ldml-sentence"&gt;A criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; is constitutionally entitled to effective assistance from his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4924" data-sentence-id="5024" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_4932"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland v. Washington&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. 668, 687&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 L.Ed.2d 674&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="sentence_4932"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;871 P.2d 769&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4924" data-sentence-id="5152" class="ldml-sentence"&gt;Because the purpose of the requirement of effective assistance is to ensure a fair trial, however, the benchmark for judging any claim of ineffectiveness must be whether &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct so undermined the proper functioning of the adversarial process that the trial cannot be relied on as having produced a just result.&lt;/span&gt; &lt;span data-paragraph-id="4924" data-sentence-id="5473" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_5152"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S at 687&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4924" data-sentence-id="5517" class="ldml-sentence"&gt;To be entitled to reversal of a conviction as the result of defective assistance, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must therefore show not only that his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance was deficient but also that the deficient performance prejudiced the defense.&lt;/span&gt; &lt;span data-paragraph-id="4924" data-sentence-id="5749" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_5517"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890822680" data-vids="890822680" class="ldml-reference" data-prop-ids="sentence_5517"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Cole&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;775 P.2d 551, 554&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5801" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5801" data-sentence-id="5809" class="ldml-sentence"&gt;The proper standard for attorney performance is that of reasonably effective assistance, and therefore &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; must show that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation fell below an objective standard of reasonableness.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6018" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_5809"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 687-88&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6066" class="ldml-sentence"&gt;Prevailing norms of practice can serve as guides to determine reasonableness, but no more than guides, because of the variety of circumstances faced by defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and the range of legitimate decisions regarding how best to represent a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_6066"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 688-89&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6357" class="ldml-sentence"&gt;Strategic choices made after thorough investigation of the law and facts relevant to plausible options are virtually unchallengeable; and strategic choices made after less than complete investigation are reasonable precisely to the extent that reasonable professional judgments support the limitations on investigation.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6677" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_6357"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 690-91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895569269" data-vids="895569269" class="ldml-reference" data-prop-ids="sentence_6357"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;914 P.2d 230, 298&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="6760" class="ldml-sentence"&gt;Because a challenged action might be considered sound trial strategy under the circumstances of a particular case, judicial scrutiny of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance must be highly deferential, evaluate particular acts and omissions from &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s perspective at the time, and indulge a strong presumption that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct falls within the wide range of reasonable professional assistance.&lt;/span&gt; &lt;span data-paragraph-id="5801" data-sentence-id="7148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_6760"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 698&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7193" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7193" data-sentence-id="7201" class="ldml-sentence"&gt;Conflicts of interest claims aside, actual ineffectiveness claims alleging a deficiency in attorney performance are subject to a general requirement that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; affirmatively prove prejudice.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="7400" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_7201"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 693&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895569269" data-vids="895569269" class="ldml-reference" data-prop-ids="sentence_7201"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Rodriguez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;914 P.2d at 294&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="7456" class="ldml-sentence"&gt;Unlike the high standard for a new trial based on newly discovered evidence, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;, however, need not show that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s deficient conduct more likely than not altered the outcome in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="7656" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_7456"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 693-94&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="7704" class="ldml-sentence"&gt;Rather, the appropriate test for prejudice finds its roots in the test for materiality of exculpatory information not disclosed to the defense by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/945244953" data-vids="945244953" class="ldml-reference" data-prop-ids="sentence_7704"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickler v. Greene&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;527 U.S. 263&lt;/span&gt;, &lt;span class="ldml-cite"&gt;119 S.Ct. 1936&lt;/span&gt;, &lt;span class="ldml-cite"&gt;144 L.Ed.2d 286&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and the materiality of testimony made unavailable by government deportation of a witness.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8043" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_7704"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 694&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8088" class="ldml-sentence"&gt;This test requires &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to show that there is a reasonable probability that, but for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s unprofessional errors, the result of the proceeding would have been different.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8271" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_8088"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8275" class="ldml-sentence"&gt;In this context, a reasonable probability means a probability sufficient to undermine confidence in the outcome.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_8275"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
 &lt;span class="ldml-pagenumber" data-vol="69" data-rep="P.3d" data-page_type="bracketed_cite" data-val="77" data-id="pagenumber_8400"&gt;&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8401" class="ldml-sentence"&gt;In light of the considerations potentially involved in determining ineffective assistance, &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; have regularly been discouraged from attempting to litigate their counsels' effectiveness on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="8611" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888636537" data-vids="888636537" class="ldml-reference" data-prop-ids="sentence_8401"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Thomas&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;867 P.2d 880, 886&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890259298" data-vids="890259298" class="ldml-reference" data-prop-ids="sentence_8401"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Cummings v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;785 P.2d 920, 927-28&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Vollack, J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;cf.&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:massarovunitedstates,538us500,504-05,123sct1690,1694,155led2d714,7202003" data-prop-ids="embeddedsentence_8856,sentence_8401"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Massaro v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;___ U.S. ___&lt;/span&gt;, &lt;span class="ldml-cite"&gt;123 S.Ct. 1690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;155 L.Ed.2d 714&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;rejecting&lt;/span&gt; any requirement to show cause and prejudice for raising ineffective-assistance claims in the first instance by &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;, on grounds that &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; is forum best suited to develop facts necessary to determine adequacy of representation during an entire trial&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9144" class="ldml-sentence"&gt;Even if the trial record reflects a seemingly unusual or misguided action by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, it may not reflect whether &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had a sound strategic motive or took the action because his alternatives were even worse.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9355" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:massarovunitedstates,538us500,504-05,123sct1690,1694,155led2d714,7202003" data-prop-ids="sentence_9144"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Massaro&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;___ U.S. ___&lt;/span&gt;, &lt;span class="ldml-cite"&gt;123 S.Ct. 1690&lt;/span&gt;,&lt;span class="ldml-cite"&gt;155 L.Ed.2d 714&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9414" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;'s reasons for omissions are even less likely to be reflected in the trial record.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9504" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:massarovunitedstates,538us500,504-05,123sct1690,1694,155led2d714,7202003" data-prop-ids="sentence_9414"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9508" class="ldml-sentence"&gt;Furthermore, without additional factual development, &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; may not be able to ascertain whether particular alleged errors were prejudicial.&lt;/span&gt; &lt;span data-paragraph-id="7193" data-sentence-id="9661" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:massarovunitedstates,538us500,504-05,123sct1690,1694,155led2d714,7202003" data-prop-ids="sentence_9508"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9665" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9665" data-sentence-id="9673" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statutes&lt;/span&gt; and rules of this jurisdiction provide a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; with an adequate opportunity to develop the required record to establish ineffective assistance.&lt;/span&gt; &lt;span data-paragraph-id="9665" data-sentence-id="9843" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9673"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-410, 6 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9673"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9665" data-sentence-id="9892" class="ldml-sentence"&gt;A &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9892"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; may be denied without an evidentiary hearing only where the motion, files, and record in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; clearly establish that the allegations presented in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion are without merit and do not warrant postconviction relief.&lt;/span&gt; &lt;span data-paragraph-id="9665" data-sentence-id="10187" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9892"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888838680" data-vids="888838680" class="ldml-reference" data-prop-ids="sentence_9892"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Hutton&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;183 Colo. 388&lt;/span&gt;, &lt;span class="ldml-cite"&gt;517 P.2d 392&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887018129" data-vids="887018129" class="ldml-reference" data-prop-ids="sentence_9892"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;White v. Denver Dist. Court&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;766 P.2d 632&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9665" data-sentence-id="10328" class="ldml-sentence"&gt;Because relief for ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; requires a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; to prove both deficient representation and prejudice, denial of the motion without a hearing is justified if, but only if, the existing record establishes that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s allegations, even if proven true, would fail to establish one or the other prong of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_10328"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Strickland&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10692" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10692" data-sentence-id="10700" class="ldml-sentence"&gt;Undoubtedly it will sometimes be &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; that the trial record reveals evidence of guilt so strong and so unlikely to have been adversely affected by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged deficiencies that denial of an ineffective-assistance claim would be justified without an evidentiary hearing.&lt;/span&gt; &lt;span data-paragraph-id="10692" data-sentence-id="10980" class="ldml-sentence"&gt;Unless the issue was expressly litigated, however, it is far less likely that a trial record will demonstrate that potentially prejudicial acts or omissions of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; were not only strategic choices but were ones that were reasonable in light of the law and facts of which &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was, or reasonably should have been, aware.&lt;/span&gt; &lt;span data-paragraph-id="10692" data-sentence-id="11306" class="ldml-sentence"&gt;If a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; has alleged acts or omissions by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that, if true, could undermine confidence in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction or sentence, and the motion, files, and record in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; do not clearly establish that &lt;span class="ldml-entity"&gt;those acts&lt;/span&gt; or omissions were reasonable strategic choices or otherwise within the range of reasonably effective assistance, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; must be given an opportunity to prove &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="3" data-ordinal_end="3" data-value="III." data-specifier="III" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label=" III.
" id="heading_11723" data-id="heading_11723"&gt;&lt;span data-paragraph-id="11723" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11723" data-sentence-id="11731" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;III.&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11736" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11736" data-sentence-id="11744" class="ldml-sentence"&gt;Rather than resting on a single ground for denial, both the district and &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; concluded that the record established the inadequacy of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s allegations regarding both prongs of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_11744"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Strickland&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11736" data-sentence-id="11964" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; denied a hearing on the grounds that there were no disputed questions of fact and that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion raised only issues of law.&lt;/span&gt; &lt;span data-paragraph-id="11736" data-sentence-id="12117" class="ldml-sentence"&gt;It found that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s actions were strategic choices, even if poor ones, and that the evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s guilt was strong.&lt;/span&gt; &lt;span data-paragraph-id="11736" data-sentence-id="12259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; found merely that the record supported &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s finding of tactical decisions and that, in any event, the evidence at trial would have been sufficient to overcome any doubts raised by the allegations.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12490" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12490" data-sentence-id="12498" class="ldml-sentence"&gt;With regard to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s required showing of prejudice, the trial record reveals that this was not &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; in which the evidence of guilt was, and would likely remain, so strong as to preclude any reasonable probability that the result would have &lt;span class="ldml-pagenumber" data-vol="69" data-rep="P.3d" data-page_type="bracketed_cite" data-val="78" data-id="pagenumber_12750"&gt;&lt;/span&gt; been different but for the identified acts and omissions of defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12490" data-sentence-id="12828" class="ldml-sentence"&gt;While perhaps not unexpected in &lt;span class="ldml-entity"&gt;a prosecution&lt;/span&gt; for child sexual assault, it is nevertheless &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; that there was neither physically corroborating evidence of the sexual assault nor any first-hand witness of the crime other than the child-victim herself.&lt;/span&gt; &lt;span data-paragraph-id="12490" data-sentence-id="13084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt;'s case included no confessions or direct admissions by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, and the outcry by the victim was both delayed and arguably reluctant.&lt;/span&gt; &lt;span data-paragraph-id="12490" data-sentence-id="13240" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; presented some additional evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s opportunity to commit the assault, arguably conflicting statements by him about his relationship with the victim, and behavioral changes of the victim, &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; rested almost entirely upon the credibility of the victim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13561" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13561" data-sentence-id="13569" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; found that the victim appeared highly believable, the more significant question was whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would have appeared believable but for the identified acts and omissions of defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13561" data-sentence-id="13780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt;'s motion and its accompanying affidavit alleged that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; failed to confront the victim with prior inconsistent statements about &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; itself or to investigate further or present any of several other witnesses who had made statements about the victim's substance abuse and character for truthfulness.&lt;/span&gt; &lt;span data-paragraph-id="13561" data-sentence-id="14108" class="ldml-sentence"&gt;Significantly, the evidence elicited by defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; included an expert opinion, of at least questionable accuracy and admissibility, that was, on its face, strongly supportive of the child-victim's veracity in making her allegation of sexual assault.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14363" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14363" data-sentence-id="14371" class="ldml-sentence"&gt;Whether or not defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct was ultimately found to be prejudicial, this is not &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; in which the trial record clearly established that it could not have been prejudicial.&lt;/span&gt; &lt;span data-paragraph-id="14363" data-sentence-id="14558" class="ldml-sentence"&gt;In this context, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was not obliged to credibly allege that his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s shortcomings caused the conviction, in the sense that without them &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; probably would not have been convicted.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="14363" data-sentence-id="14764" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; was entitled to an evidentiary hearing as long as the allegations of his motion, in light of the existing record, were not clearly insufficient to undermine confidence in the outcome of the trial, by demonstrating a reasonable probability that but for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s challenged conduct, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; would not have been convicted.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15105" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15105" data-sentence-id="15113" class="ldml-sentence"&gt;With regard to defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance, neither lower &lt;span class="ldml-entity"&gt;court&lt;/span&gt; suggested that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s acts and omissions were strategic choices made after complete investigation of the relevant facts and law, or that reasonable professional judgments supported the limitations &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; placed on his investigation.&lt;/span&gt; &lt;span data-paragraph-id="15105" data-sentence-id="15416" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_15113"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 690-91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15105" data-sentence-id="15468" class="ldml-sentence"&gt;Nor would the existing record, by itself, have been sufficient to justify such a finding.&lt;/span&gt; &lt;span data-paragraph-id="15105" data-sentence-id="15558" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s repetition of the expert's opinion about the veracity of child sexual assault allegations suggested a deliberate attempt to disparage it as fantastic, nothing in the record revealed the considerations or investigation leading him to elicit, and fail to contradict, such an opinion.&lt;/span&gt; &lt;span data-paragraph-id="15105" data-sentence-id="15856" class="ldml-sentence"&gt;Similarly, while it may be reasonable to view &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to cross-examine the child-victim about her prior inconsistent statements, or to introduce extrinsic evidence challenging her trustworthiness, as a deliberate attempt to avoid evoking sympathy for her, nothing in the record suggested that even if this were &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conscious choice, it was a reasonable choice, in light of the extent of his factual and legal investigation and his other &lt;span class="ldml-quotation quote"&gt;"plausible options,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_15856"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, for defending his client.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16388" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16388" data-sentence-id="16396" class="ldml-sentence"&gt;To establish ineffective assistance, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was required to overcome the presumption that, under the circumstances, the challenged conduct of his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; might be considered sound trial strategy.&lt;/span&gt; &lt;span data-paragraph-id="16388" data-sentence-id="16599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_16396"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 689&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16388" data-sentence-id="16627" class="ldml-sentence"&gt;While strategic choices made after thorough investigation of the relevant law and facts are virtually unchallengeable, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_16627"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-pagenumber" data-vol="69" data-rep="P.3d" data-page_type="bracketed_cite" data-val="79" data-id="pagenumber_16746"&gt;&lt;/span&gt;id.&lt;/i&gt; at 690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the extent of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s understanding of the relevant law and facts and his reasons for not investigating further are matters peculiarly within his personal knowledge.&lt;/span&gt; &lt;span data-paragraph-id="16388" data-sentence-id="16942" class="ldml-sentence"&gt;With regard to strategic choices, the credibility of defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; can be particularly important and is a matter to be resolved by the postconviction &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16388" data-sentence-id="17101" class="ldml-sentence"&gt;At least where &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was able to identify &lt;span class="ldml-quotation quote"&gt;"seemingly unusual or misguided action"&lt;/span&gt; by his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:massarovunitedstates,538us500,504-05,123sct1690,1694,155led2d714,7202003" data-prop-ids="sentence_17101"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Massaro&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;___ U.S. ___&lt;/span&gt;, &lt;span class="ldml-cite"&gt;123 S.Ct. 1690&lt;/span&gt;,&lt;span class="ldml-cite"&gt;155 L.Ed.2d 714&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-quotation quote"&gt;"plausible options,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_17101"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;466 U.S. at 690-91&lt;/span&gt;,&lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for the defense of his client that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not pursue, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; could not be deprived of an opportunity to prove those choices lacked any sound strategic motive, unless the existing record clearly established otherwise or those choices could not have been prejudicial in any event.&lt;/span&gt; &lt;span data-paragraph-id="16388" data-sentence-id="17625" class="ldml-sentence"&gt;The record in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; failed to clearly establish either.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="4" data-ordinal_end="4" data-value="IV." data-specifier="IV" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label=" IV.
" id="heading_17685" data-id="heading_17685"&gt;&lt;span data-paragraph-id="17685" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17685" data-sentence-id="17693" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;IV.&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17697" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17697" data-sentence-id="17705" class="ldml-sentence"&gt;Because the motion, files, and record in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were insufficient to establish either that the identified acts and omissions of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; were all reasonable strategic choices or that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;, in any event, did not prejudice &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; and remand with directions to remand the matter to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for an evidentiary hearing on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt;.&lt;/span&gt;
 &lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="18165" class="ldml-paragraph "&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1.&lt;/a&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18166" class="ldml-sentence"&gt;Language from the rulings of both the district and &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; suggested some confusion about the appropriate standard of prejudice in the effective assistance context.&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18340" class="ldml-sentence"&gt;In denying &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion without a hearing, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; found that the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;efendant has come no where near establishing that &lt;span class="ldml-parenthetical"&gt;[trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s]&lt;/span&gt; mistakes or possible mistakes caused the verdict adverse to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,"&lt;/span&gt; and in affirming that judgment, the majority of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; found that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he record does not reveal that the testimony of these witnesses would probably have changed the outcome of the trial."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;